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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK

 __________________________________________
                                           )
 MARTÍN JONATHAN BATALLA VIDAL,            )
 et al.,                                   )
                                           )              LAW STUDENT INTERN
         Plaintiffs,                       )              APPERANCE FORM
                                           )
         v.                                )
                                           )              Case No. 1:16-cv-04756 (NGG)(JO)
 CHAD WOLF, Acting Secretary,              )
 Department of Homeland Security, et al.,  )
                                           )
         Defendants.                       )
 __________________________________________)

    1. Certification of Law Student

       I, Armando Ghinaglia Socorro, certify that:

       (a) I am enrolled in Yale Law School, which is accredited by the American Bar
           Association;
       (b) I am not receiving any compensation from the client in this matter;
       (c) I am familiar and will comply with the New York State Rules of Professional
           Responsibility;
       (d) I am familiar with the Federal Rules of Evidence and Civil and Criminal Procedure,
           as well as this Court’s local rules; and
       (e) I am participating in a clinical program at Yale Law School.

           __________________________________              11/16/2020
                                                          __________________
           Signature of Student                           Date




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    2. Certification of Law School Dean or Authorized Designee

       I, Muneer Ahmad, certify that:

       (a) this student has completed at least two semesters of law school work;
       (b) to the best of my knowledge, this student is qualified to provide the legal
           representation herein; and
       (c) this student is a participant in a clinical program that is approved by this law school
           and taught by Muneer Ahmad, Marisol Orihuela, and Michael Wishnie, who will
           serve as supervising attorneys.


           __________________________________                ____________
                                                              11/16/2020
           Muneer Ahmad                                      Date
           Deputy Dean for Experiential Education




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    3. Certification of Supervising Attorney

       As a member of the bar of The United States District Court for the Eastern District of
       New York, I, Muneer Ahmad, certify that:

       (a) I will assume personal professional responsibility for this student’s work;
       (b) I will assist this student to the extent necessary;
       (c) I will obtain the approval of the clients, in writing, for the student to appear in this
           matter; and
       (d) I or another supervising attorney will appear with the student in all proceedings
           before the Court.


           __________________________________                  ____________
                                                                11/16/2020
           Signature of Attorney                               Date




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    4. Certification of Client or United States Attorney

       I, Martin J. Batalla Vidal, authorize this student:

       (a) To appear in court and at other proceedings on my behalf, and
       (b) To prepare documents on my behalf.

       I am aware that these students are not law school graduates and are not admitted to the
       bar, and that they will appear under the supervision of a duly admitted attorney and/or
       professor of law who is a member of the bar of The United States District Court for the
       Eastern District of New York.



           _____________________________________                  _11/09/2020     .
           Signature of Client                                    Date




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       I, Carolina Fung Feng, authorize this student:

       (a) To appear in court and at other proceedings on my behalf, and
       (b) To prepare documents on my behalf.

       I am aware that these students are not law school graduates and are not admitted to the
       bar, and that they will appear under the supervision of a duly admitted attorney and/or
       professor of law who is a member of the bar of The United States District Court for the
       Eastern District of New York.




           tfarolinarfuyfay
          _____________________________________
          Signature of Client
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                                                                  ____________
                                                                  Date




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       I, Antonio Alarcon, authorize this student:

       (a) To appear in court and at other proceedings on my behalf, and
       (b) To prepare documents on my behalf.

       I am aware that these students are not law school graduates and are not admitted to the
       bar, and that they will appear under the supervision of a duly admitted attorney and/or
       professor of law who is a member of the bar of The United States District Court for the
       Eastern District of New York.



          _____________________________________                   ____________
                                                                  October 19,2020
          Signature of Client                                     Date




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       I, Eliana Fernandez, authorize this student:

       (a) To appear in court and at other proceedings on my behalf, and
       (b) To prepare documents on my behalf.

       I am aware that these students are not law school graduates and are not admitted to the
       bar, and that they will appear under the supervision of a duly admitted attorney and/or
       professor of law who is a member of the bar of The United States District Court for the
       Eastern District of New York.



          _____________________________________                   11/10/2020
                                                                  ____________
          Signature of Client                                     Date




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       I, Johana Larios Sainz, authorize this student:

       (a) To appear in court and at other proceedings on my behalf, and
       (b) To prepare documents on my behalf.

       I am aware that these students are not law school graduates and are not admitted to the
       bar, and that they will appear under the supervision of a duly admitted attorney and/or
       professor of law who is a member of the bar of The United States District Court for the
       Eastern District of New York.



          _____________________________________                   ____________
          Signature of Client                                     Date




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                                                                            thisstudent:
                                                                                  student:

        (a) To appear in court and at other proceedings on my behalf, and
        (b) To prepare documents on my behalf.

        I am aware that these students are not law school graduates and are not admitted to the
        bar, and that they will appear under the supervision of a duly admitted attorney and/or
        professor of law who is a member of the bar of The United States District Court for the
        Eastern District of New York.


                                                                    11/11/2020
           _____________________________________                    ____________
           Signature of Client                                      Date




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